      Case 1:18-cr-00274-DLI Document 1 Filed 05/30/18 Page 1 of 1 PageID #: 1



JMKiDCP
F.#2018R01039


UNITED STATES DISTRICT COURT                                          2018 HAY 30 PH3:5I
EASTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA                        NOTICE


        - against -                                 •I
                                                Cnmina
                                                                                     _^74
JOHN DOE,                                                           BLOCK, J.

                        Defendant.
                                                                 SCANLON, M.J.
                                      X



               PLEASE TAKE NOTICE that the undersigned will move this Court, before a

judge to be assigned, for leave to file an information upon the defendant JOHN DOE's

waiver ofindictment pursuant to Rule 7(b) ofthe Federal Rules of Criminal Procedure.

Dated:      Brooklyn, New York
            May 30,2018

                                                 RICHARD P. DONOGHUE
                                                 United States Attorney
                                                 Eastem District of New York
                                                 271 Cadman Plaza East
                                                 Brooklyn, New York 11201


                                          By:
                                                 DavitTC. Pitluck
                                                 Assistant United States Attorney
                                                 (718)254-6108

Cc:      Clerk ofthe Court
